      Case 18-10614-jal                 Doc 14           Filed 06/28/18             Entered 06/29/18 01:03:42                        Page 1 of 4

 Information to identify the case:
 Debtor 1              Brian Lee Simmons                                                         Social Security number or ITIN            xxx−xx−3329
                       First Name   Middle Name    Last Name                                     EIN _ _−_ _ _ _ _ _ _
 Debtor 2              Missy Lee Matthews−Simmons                                                Social Security number or ITIN            xxx−xx−4893
 (Spouse, if filing)
                       First Name   Middle Name    Last Name                                     EIN     _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Western District of Kentucky
                                                                                                 Date case filed for chapter 11 6/25/18
 Case number:          18−10614−jal

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                               About Debtor 1:                                              About Debtor 2:
 1. Debtor's full name                         Brian Lee Simmons                                            Missy Lee Matthews−Simmons

 2. All other names used in the
    last 8 years

 3. Address                                    1223 Lakemere Ave.                                           1223 Lakemere Ave.
                                               Bowling Green, KY 42103                                      Bowling Green, KY 42103

 4. Debtor's attorney                          Robert C. Chaudoin                                        Contact phone (270) 842−5611
      Name and address                         519 E. 10th Street
                                               P.O. Box 390                                              Email chaudoin@harlinparker.com
                                               Bowling Green, KY 42102−0390

 5. Bankruptcy clerk's office                                                                             Hours open:
      Documents in this case may be filed                                                                 8:30 a.m. to 4:30 p.m. Eastern Time Zone
                                               450 U.S. Courthouse
      at this address.                         601 W. Broadway
      You may inspect all records filed in                                                                Contact phone 502−627−5700
                                               Louisville, KY 40202
      this case at this office or online at
      www.pacer.gov.                                                                                      Date: 6/26/18

                                                                                                           For more information, see page 2 >




Official Form 309E (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                         page 1
     Case 18-10614-jal                   Doc 14           Filed 06/28/18               Entered 06/29/18 01:03:42                            Page 2 of 4
Debtor Brian Lee Simmons and Missy Lee Matthews−Simmons                                                                          Case number 18−10614−jal

 6. Meeting of creditors
     Debtors must attend the meeting to      August 10, 2018 at 12:00 PM                                      Location:
     be questioned under oath. In a joint                                                                     William Natcher Federal Courthouse,
     case, both spouses must attend.         The meeting may be continued or adjourned to a later             241 East Main Street, Third Floor,
     Creditors may attend, but are not       date. If so, the date will be on the court docket.               Bowling Green, KY 42101
     required to do so.

 7. Deadlines                        File by the deadline to object to discharge or to challenge                          First date set for hearing on
     The bankruptcy clerk's office   whether certain debts are dischargeable:                                             confirmation of plan. The court will
     must receive these                                                                                                   send you a notice of that date later.
     documents and any required
     filing fee by the following     You must file a complaint:                                                           Filing deadline for
     deadlines.                                                                                                           dischargeability complaints:
                                             •   if you assert that the debtor is not entitled to receive a discharge
                                                 of any debts under 11 U.S.C. § 1141(d)(3) or
                                             •   if you want to have a debt excepted from discharge under 11
                                                 U.S.C. § 523(a)(2), (4), or (6).


                                     Deadline for filing proof of claim:                                                  Not yet set. If a deadline is set, the
                                                                                                                          court will send you another notice.
                                     A proof of claim is a signed statement describing a creditor's claim. A proof
                                     of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                     clerk's office.

                                     Your claim will be allowed in the amount scheduled unless:

                                             • you
                                               your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             •     receive another notice.

                                     If your claim is not scheduled or if your claim is designated as disputed,
                                     contingent, or unliquidated, you must file a proof of claim or you might not be
                                     paid on your claim and you might be unable to vote on a plan. You may file a
                                     proof of claim even if your claim is scheduled.

                                     You may review the schedules at the bankruptcy clerk's office or online at
                                     www.pacer.gov.

                                     Secured creditors retain rights in their collateral regardless of whether they
                                     file a proof of claim. Filing a proof of claim submits a creditor to the
                                     jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                     For example, a secured creditor who files a proof of claim may surrender
                                     important nonmonetary rights, including the right to a jury trial.


                                     Deadline to object to exemptions:                                                    Filing Deadline:
                                     The law permits debtors to keep certain property as exempt. If you believe           30 days after the conclusion of the
                                     that the law does not authorize an exemption claimed, you may file an                meeting of creditors
                                     objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                             See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                             all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                             from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                      should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                             and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                             entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                             the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                             send you another notice telling you of that date.

                                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                         as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                             bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.


Official Form 309E (For Individuals or Joint Debtors)                       Notice of Chapter 11 Bankruptcy Case                                              page 2
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                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 18-10614-jal
Brian Lee Simmons                                                                                          Chapter 11
Missy Lee Matthews-Simmons
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: msmithson                    Page 1 of 2                          Date Rcvd: Jun 26, 2018
                                      Form ID: 309E                      Total Noticed: 29


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 28, 2018.
db/jdb         +Brian Lee Simmons,    Missy Lee Matthews-Simmons,     1223 Lakemere Ave.,
                 Bowling Green, KY 42103-6013
6329223        +3rd & Central Properties, LLC,     3204 Ten Broeck Way,    Louisville, KY 40241-2489
6329228        +Christopher Grosch,    c/o Kevin Goff,    PO Box 1737,    Bowling Green, KY 42102-1737
6329230        +Hankcock Bank & Trust Company,     2501 Crossings Blvd.,    Bowling Green, KY 42104-5459
6329231        +Jeannie Snodgrass,    Jeff Zeman,    419 4 Witt Rd .,    Franklin, KY 42134-6940
6329232        +John Deere Financial,    PO Box 650215,    Dallas, TX 75265-0215
6329233        +John H. Dwyer,    Zielke Law Firm,    462 South Fourth St .,    Suite 1250,
                 Louisville, KY 40202-3465
6329234         Matt Zeman,    Nl4 02 Chrisler Rd.,    Lodi, WI 53555
6329235        +Old National Bank,    Preston Simmons,    552 Drakesborough Dr.,    Bowling Green, KY 42103-9767
6329236        +Preston Simmons,    552 Drakesborough Drive,    Bowling Green, KY 42103-9767
6329239        +Richard McGahan,    18 6 Windmere Ct .,    Bowling Green, KY 42103-8719
6329240        +Sharon Poston,    165 Lazy Acres Lane,    Roundhill, KY 42275-8082
6329241        +Sheila Simmons,    552 Drakesborough Drive,    Bowling Green, KY 42103-9767
6329242        +Steve Snodgrass,    1006 South Park Drive,    Bowling Green, KY 42103-4400
6329246        +Tim Poston,    165 Lazy Acres Ln.,    Roundhill, KY 42275-8082

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: chaudoin@harlinparker.com Jun 26 2018 19:27:00       Robert C. Chaudoin,
                 519 E. 10th Street,    P.O. Box 390,   Bowling Green, KY 42102-0390
smg             EDI: IRS.COM Jun 26 2018 23:28:00      IRS,   PO Box 7346,    Philadelphia, PA 19101-7346
ust            +E-mail/Text: ustpregion08.lo.ecf@usdoj.gov Jun 26 2018 19:27:34       Charles R. Merrill,
                 Asst. U.S.Trustee,   601 West Broadway #512,     Louisville, KY 40202-2229
6329224        +EDI: AMEREXPR.COM Jun 26 2018 23:28:00      American Express,    P.O . Box 297879,
                 Fort Lauderdale, FL 33329-7879
6329225        +E-mail/Text: cst.bankruptcy@chase.com Jun 26 2018 19:28:46       Chase,   P.O. Box 7013,
                 Indianapolis, IN 46207-7013
6329227        +EDI: CHASE.COM Jun 26 2018 23:28:00      Chase Card Services,    Correspondence Dept,
                 Po Box 15298,   Wilmington, DE 19850-5298
6329226        +EDI: CHASE.COM Jun 26 2018 23:28:00      Chase Card Services,    PO Box 15298,
                 Wilmington, DE 19850-5298
6329229        +E-mail/Text: thigh@edmontonstatebank.com Jun 26 2018 19:27:06       Edmonton State Bank,
                 P .O. Box 57,   Edmonton, KY 42129-0057
6329243        +EDI: RMSC.COM Jun 26 2018 23:28:00      SYNCB/Lowes,    P. 0. Box 965005,
                 Orlando, FL 32896-0001
6329244        +EDI: RMSC.COM Jun 26 2018 23:28:00      SYNCB/Sam’s Club,    PO Box 965005,
                 Orlando, FL 32896-5005
6329245        +EDI: RMSC.COM Jun 26 2018 23:28:00      Synchrony Bank/Sams Club,    Attn: Bankruptcy Dept,
                 Po Box 965060,   Orlando, FL 32896-5060
6329247        +E-mail/Text: marisa.sheppard@timepayment.com Jun 26 2018 19:27:56       TimePayment Corp.,
                 1600 District Ave.,    Burlington, MA 01803-5233
6329249         EDI: USBANKARS.COM Jun 26 2018 23:28:00      US Bank/RMS CC,    Attn: Bankruptcy,    Po Box 5229,
                 Cincinnati, OH 45201
6329248         EDI: USBANKARS.COM Jun 26 2018 23:28:00      us Bank,    P.O. Box 5227,   Cincinnati, OH 45201
                                                                                               TOTAL: 14

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
6329237*         +Preston Simmons,   552 Drakesborough Dr.,   Bowling Green, KY 42103-9767
6329238*         +Preston Simmons,   552 Drakesborough Drive,   Bowling Green, KY 42103-9767
                                                                                                                    TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 28, 2018                                            Signature: /s/Joseph Speetjens
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District/off: 0644-1         User: msmithson              Page 2 of 2                  Date Rcvd: Jun 26, 2018
                             Form ID: 309E                Total Noticed: 29

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 26, 2018 at the address(es) listed below:
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              Robert C. Chaudoin   on behalf of Debtor Brian Lee Simmons chaudoin@harlinparker.com,
               rachel@harlinparker.com
              Robert C. Chaudoin   on behalf of Joint Debtor Missy Lee Matthews-Simmons
               chaudoin@harlinparker.com, rachel@harlinparker.com
                                                                                            TOTAL: 3
